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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION



UNITED STATES OF AMERICA,

                Plaintiff,
                                                              CASE NO. 1:20-cr-183
v.
                                                              HON. ROBERT J. JONKER
ADAM DEAN FOX, et al.,

            Defendants.
__________________________________/

                                             ORDER

         The defendants have filed a motion for extension of time in which to file pretrial motions

based on the most recent Rule 16 discovery disclosure by the government. ECF No. 385. The

government shall file a response to the motion not later than January 5, 2022. For planning

purposes, and subject to the Court’s final consideration of the motion, all parties should anticipate

that the deadlines the Court precisely set will continue to apply.



Dated:      December 31, 2021                 /s/ Robert J. Jonker
                                              ROBERT J. JONKER
                                              CHIEF UNITED STATES DISTRICT JUDGE
